           Case 4:15-cv-03504-YGR Document 184-1 Filed 11/21/16 Page 1 of 12



 1   Enu Mainigi (Pro Hac Vice)
     Luba Shur (Pro Hac Vice)
 2   Grant A. Geyerman (Pro Hac Vice)
     WILLIAMS & CONNOLLY LLP
 3   725 Twelfth Street, NW
     Washington, DC 20005
 4   Telephone: (202) 434-5000
     Facsimile: (202) 434-5029
 5
     Edward W. Swanson (State Bar No. 159859)
 6   August Gugelmann (State Bar No. 240544)
     SWANSON & McNAMARA LLP
 7   300 Montgomery Street, Suite 1100
     San Francisco, CA 94104
 8   Telephone: (415) 477-3800
     Facsimile: (415) 477-9010
 9
     Attorneys for CVS Pharmacy, Inc.
10

11

12
                               UNITED STATES DISTRICT COURT
13
                             NORTHERN DISTRICT OF CALIFORNIA
14
                                        OAKLAND DIVISION
15

16     CHRISTOPHER CORCORAN, et al.,             No. 15-CV-03504-YGR
17                                 Plaintiffs,   CLASS ACTION
18                   v.                          DECLARATION OF GRANT A.
                                                 GEYERMAN IN SUPPORT OF
19     CVS PHARMACY, INC.                        OPPOSITION TO CLASS
                                                 CERTIFICATION
20                                 Defendant.

21

22

23

24

25

26

27

28
            Case 4:15-cv-03504-YGR Document 184-1 Filed 11/21/16 Page 2 of 12



 1          I, Grant A. Geyerman, make the following Declaration based on personal knowledge of
 2   the matters set forth herein. I am a partner at Williams & Connolly LLP, counsel to Defendant
 3   CVS Pharmacy, Inc. (“CVS”) in this matter. I submit this declaration in support of CVS’s
 4   Opposition to Plaintiff’s Motion for Class Certification (“Opposition”). If called upon, I could
 5   and would testify competently to the following:
 6           A.      Charts of Plaintiffs’ Testimony
 7          1.      Attached hereto as Exhibit 1 is a true and correct copy of a composite exhibit
 8   created by undersigned counsel excerpting Plaintiffs’ deposition testimony entitled “Continued
 9   Patronage of CVS.”
10          2.      Attached hereto as Exhibit 2 is a true and correct copy of a composite exhibit
11   created by undersigned counsel excerpting Plaintiffs’ deposition testimony entitled “Enrollment
12   Fee Significant.”
13          3.      Attached hereto as Exhibit 3 is a true and correct copy of a composite exhibit
14   created by undersigned counsel excerpting Plaintiffs’ deposition testimony entitled “No Intention
15   to Fill Future Prescriptions at CVS.”
16          4.      Attached hereto as Exhibit 4 is a true and correct copy of a composite exhibit
17   created by undersigned counsel excerpting Plaintiffs’ deposition testimony entitled “No False or
18   Misleading Statements by CVS.”
19          5.      Attached hereto as Exhibit 5 is a true and correct copy of a composite exhibit
20   created by undersigned counsel excerpting Plaintiffs’ deposition testimony entitled “Plaintiffs are

21   Inadequate.”

22          6.      Attached hereto as Exhibit 6 is a true and correct copy of a composite exhibit

23   created by undersigned counsel excerpting Plaintiffs’ deposition testimony entitled “Solicitation

24   by Counsel.”

25           B.      Charts of State Laws
26          7.      Attached hereto as Exhibit 7 is a true and correct copy of a chart created by

27   undersigned counsel responding to Plaintiffs’ Exhibit A regarding the elements of the consumer

28   protection statutes in each of the 11 states in which they seek to certify a class.
                                                                     DECLARATION OF GRANT A. GEYERMAN
                                                      -1-                                  15-CV-03504-YGR
            Case 4:15-cv-03504-YGR Document 184-1 Filed 11/21/16 Page 3 of 12



 1          8.      Attached hereto as Exhibit 8 is a true and correct copy of a chart created by
 2   undersigned counsel responding to Plaintiffs’ Exhibit B regarding the elements of fraud in each of
 3   the 11 states in which they seek to certify a class.
 4          9.      Attached hereto as Exhibit 9 is a true and correct copy of a chart created by
 5   undersigned counsel responding to Plaintiffs’ Exhibit C regarding the elements of negligent
 6   misrepresentation in each of the 11 states in which they seek to certify a class.
 7          10.     Attached hereto as Exhibit 10 is a true and correct copy of a chart created by
 8   undersigned counsel responding to Plaintiffs’ Exhibit C regarding the elements of unjust
 9   enrichment in each of the 11 states in which they seek to certify a class.
10          C.      PBM Witness Testimony
11          11.     Attached hereto as Exhibit 11 is a true and correct copy of excerpts from the
12   transcript of the Deposition of William John Barre that was taken on November 17, 2016.
13          12.     Attached hereto as Exhibit 12 is a true and correct copy of the November 21, 2016
14   Declaration of Amber D. Compton.
15          13.     Attached hereto as Exhibit 13 is a true and correct copy of excerpts from the
16   transcript of the Deposition of Cal Corum that was taken on November 2, 2016.
17          14.     Attached hereto as Exhibit 14 is a true and correct copy of the November 18, 2016
18   Declaration of John M. Lavin.
19          15.     Attached hereto as Exhibit 15 is a true and correct copy of the November 20, 2016
20   Declaration of Michael D. Reichardt.

21          16.     Attached hereto as Exhibit 16 is a true and correct copy of the November 18, 2016

22   Declaration of Franceen Spadaccino, RPh.

23          17.     Attached hereto as Exhibit 17 is a true and correct copy of the November 18, 2016

24   Declaration of G. William Strein.

25           D.     Company Witnesses
26          18.     Attached hereto as Exhibit 18 is a true and correct copy of the November 21, 2016

27   Declaration of Susan Colbert.

28          19.     Attached hereto as Exhibit 19 is a true and correct copy of excerpts from the
                                                                    DECLARATION OF GRANT A. GEYERMAN
                                                      -2-                                15-CV-03504-YGR
            Case 4:15-cv-03504-YGR Document 184-1 Filed 11/21/16 Page 4 of 12



 1   transcript of the Deposition of Susan F. Colbert that was taken on October 26, 2016.
 2          20.     Attached hereto as Exhibit 20 is a true and correct copy of excerpts from the
 3   transcript of the Deposition of CVS Pharmacy, Inc.’s 30(b)(6) Representative, Hilary Dudley, that
 4   was taken on September 20, 2016.
 5          21.     Attached hereto as Exhibit 21 is a true and correct copy of the November 18, 2016
 6   Declaration of Thomas Gibbons.
 7          22.     Attached hereto as Exhibit 22 is a true and correct copy of excerpts from the
 8   transcript of the Deposition of Scott Tierney that was taken on September 13, 2016.
 9          23.     Attached hereto as Exhibit 23 is a true and correct copy of excerpts from the
10   transcript of the Deposition of John Zevzavadjian that was taken on November 1, 2016.
11           E.     Expert Witnesses
12          24.     Attached hereto as Exhibit 24 is a true and correct copy of the November 21, 2016
13   Declaration of Brett E. Barlag.
14          25.     Attached hereto as Exhibit 25 is a true and correct copy of the November 20, 2016
15   Declaration of Catherine C. Graeff.
16          26.     Attached hereto as Exhibit 26 is a true and correct copy of the November 20, 2016
17   Declaration of John Jones.
18          27.     Attached hereto as Exhibit 27 is a true and correct copy of the November 19, 2016
19   Declaration of Edward G. McGinley.
20          28.     Attached hereto as Exhibit 28 is a true and correct copy of excerpts from the

21   transcript of the Deposition of Robert Navarro, PharmD. that was taken on November 7, 2016.

22           F.     Plaintiffs’ Deposition Excerpts
23          29.     Attached hereto as Exhibit 29 is a true and correct copy of excerpts from the

24   transcript of the Deposition of Zulema Avis that was taken on August 5, 2016.

25          30.     Attached hereto as Exhibit 30 is a true and correct copy of excerpts from the

26   transcript of the Deposition of Debbie Barrett that was taken on September 16, 2016.

27          31.     Attached hereto as Exhibit 31 is a true and correct copy of excerpts from the

28   transcript of the Deposition of Gilbert Brown that was taken on October 13, 2016.
                                                                 DECLARATION OF GRANT A. GEYERMAN
                                                    -3-                              15-CV-03504-YGR
            Case 4:15-cv-03504-YGR Document 184-1 Filed 11/21/16 Page 5 of 12



 1          32.     Attached hereto as Exhibit 32 is a true and correct copy of excerpts from the
 2   transcript of the Deposition of Carolyn Caine that was taken on July 26, 2016.
 3          33.     Attached hereto as Exhibit 33 is a true and correct copy of excerpts from the
 4   transcript of the Deposition of Tyler Clark that was taken on October 26, 2016.
 5          34.     Attached hereto as Exhibit 34 is a true and correct copy of excerpts from the
 6   transcript of the Deposition of Christopher Corcoran that was taken on November 3, 2016.
 7          35.     Attached hereto as Exhibit 35 is a true and correct copy of excerpts from the
 8   transcript of the Deposition of Robert Garber that was taken on September 21, 2016.
 9          36.     Attached hereto as Exhibit 36 is a true and correct copy of excerpts from the
10   transcript of the Deposition of Vincent Gargiulo that was taken on August 27, 2016.
11          37.     Attached hereto as Exhibit 37 is a true and correct copy of excerpts from the
12   transcript of the Deposition of Amanda Gilbert that was taken on September 7, 2016.
13          38.     Attached hereto as Exhibit 38 is a true and correct copy of excerpts from the
14   transcript of the Deposition of Zachary Hagert that was taken on August 12, 2016.
15          39.     Attached hereto as Exhibit 39 is a true and correct copy of excerpts from the
16   transcript of the Deposition of Robert Jenks that was taken on July 28, 2016.
17          40.     Attached hereto as Exhibit 40 is a true and correct copy of excerpts from the
18   transcript of the Deposition of Toni Odorisio that was taken on August 18, 2016.
19          41.     Attached hereto as Exhibit 41 is a true and correct copy of excerpts from the
20   transcript of the Deposition of Onnolee Samuelson that was taken on August 19, 2016.

21          42.     Attached hereto as Exhibit 42 is a true and correct copy of excerpts from the

22   transcript of the Deposition of Carl Washington that was taken on August 30, 2016.

23          43.     Attached hereto as Exhibit 43 is a true and correct copy of excerpts from the

24   transcript of the Deposition of Walter Wulff that was taken on August 9, 2016.

25           G.     Other Witnesses
26          44.     Attached hereto as Exhibit 44 is a true and correct copy of excerpts from the

27   transcript of the Deposition of former Plaintiff Linda Krone that was taken on August 5, 2016.

28
                                                                  DECLARATION OF GRANT A. GEYERMAN
                                                    -4-                                 15-CV-03504-YGR
             Case 4:15-cv-03504-YGR Document 184-1 Filed 11/21/16 Page 6 of 12



 1           45.   Attached hereto as Exhibit 45 is a true and correct copy of excerpts from the
 2   Videotaped Examination Under Oath of Thomas Morrison that was taken on February 2, 2016.
 3           46.   Attached hereto as Exhibit 46 is a true and correct copy of excerpts from the
 4   transcript of the Deposition of Thomas Morrison that was taken on July 20, 2016.
 5           47.   Attached hereto as Exhibit 47 is a true and correct copy of excerpts from the
 6   transcript of the Deposition of Elizabeth S. Wingate that was taken on October 20, 2016.
 7            H.   Plaintiffs’ Interrogatory Responses
 8           48.   Attached hereto as Exhibit 48 is a true and correct copy of Plaintiff Zulema Avis’
 9   Amended Responses and Objections to Defendants Interrogatories dated August 1, 2016.
10           49.   Attached hereto as Exhibit 49 is a true and correct copy of Plaintiff Debbie Barrett’s
11   Amended Responses and Objections to Defendants Interrogatories dated September 13, 2016.
12           50.   Attached hereto as Exhibit 50 is a true and correct copy of Plaintiff Gilbert Brown’s
13   Amended Responses and Objections to Defendants Interrogatories dated October 5, 2016.
14           51.   Attached hereto as Exhibit 51 is a true and correct copy of Plaintiff Carolyn Caine’s
15   Amended Responses and Objections to Defendants Interrogatories dated July 22, 2016.
16           52.   Attached hereto as Exhibit 52 is a true and correct copy of Plaintiff Tyler Clark’s
17   Amended Responses and Objections to Defendants Interrogatories dated October 7, 2016.
18           53.   Attached hereto as Exhibit 53 is a true and correct copy of Plaintiff Christopher
19   Corcoran’s Supplemental and Amended Responses and Objections to Defendants Interrogatories
20   dated October 7, 2016.

21           54.   Attached hereto as Exhibit 54 is a true and correct copy of Plaintiff Dr. Robert

22   Garber’s Amended Responses and Objections to Defendants Interrogatories dated August 1, 2016.

23           55.   Attached hereto as Exhibit 55 is a true and correct copy of Plaintiff Vincent

24   Gargiulo’s Second Amended Responses and Objections to Defendants Interrogatories dated

25   August 27, 2016.

26           56.   Attached hereto as Exhibit 56 is a true and correct copy of Plaintiff Amanda

27   Gilbert’s Amended Responses and Objections to Defendants Interrogatories dated August 25,

28   2016.
                                                                  DECLARATION OF GRANT A. GEYERMAN
                                                    -5-                                15-CV-03504-YGR
             Case 4:15-cv-03504-YGR Document 184-1 Filed 11/21/16 Page 7 of 12



 1           57.   Attached hereto as Exhibit 57 is a true and correct copy of Plaintiff Zachary
 2   Hagert’s Amended Responses and Objections to Defendants Interrogatories dated August 5, 2016.
 3           58.   Attached hereto as Exhibit 58 is a true and correct copy of Plaintiff Robert Jenks’
 4   Amended Responses and Objections to Defendants Interrogatories dated July 22, 2016.
 5           59.   Attached hereto as Exhibit 59 is a true and correct copy of Plaintiff Toni Odorisio’s
 6   Amended Responses and Objections to Defendants Interrogatories dated August 1, 2016.
 7           60.   Attached hereto as Exhibit 60 is a true and correct copy of Plaintiff Onnolee
 8   Samuelson’s Third Amended Responses and Objections to Defendants Interrogatories dated
 9   August 17, 2016.
10           61.   Attached hereto as Exhibit 61 is a true and correct copy of Plaintiff Carl
11   Washington’s Amended Responses and Objections to Defendants Interrogatories dated August 23,
12   2016.
13           62.   Attached hereto as Exhibit 62 is a true and correct copy of Plaintiff Walter Wulff’s
14   Amended Responses and Objections to Defendants Interrogatories dated August 1, 2016.
15            I.   CVS Contracts with PBMs and Payers
16           63.   Attached hereto as Exhibit 63 is a true and correct copy of the National Pharmacy
17   Services Agreement entered into by Aetna Health Management, LLC and CVS Pharmacy, Inc.
18   dated January 15, 2009, produced by CVS in this litigation with Bates No. CVSC-0323277.
19           64.   Attached hereto as Exhibit 64 is a true and correct copy of the Participating
20   Agreement for Pharmacy Chain entered into by Argus Health Systems, Inc. and CVS Pharmacy,

21   Inc. dated Feb. 25, 2002, produced by CVS in this litigation with Bates No. CVSC-0342672.

22           65.   Attached hereto as Exhibit 65 is a true and correct copy of the Provider Agreement

23   Terms and Conditions entered into by Catamaran LLC and CVS Pharmacy, Inc. dated December

24   11, 2014, produced by CVS in this litigation with Bates No. CVSC-0324752.

25           66.   Attached hereto as Exhibit 66 is a true and correct copy of the Commercial

26   Preferred or Restricted Value Added Network Program entered into by Coventry Health Care, Inc.

27   and CVS Pharmacy, Inc. dated Jan. 1, 2014, produced by CVS in this litigation with Bates No.

28   CVSC-0261764.
                                                                  DECLARATION OF GRANT A. GEYERMAN
                                                    -6-                               15-CV-03504-YGR
            Case 4:15-cv-03504-YGR Document 184-1 Filed 11/21/16 Page 8 of 12



 1          67.      Attached hereto as Exhibit 67 is a true and correct copy of the Pharmacy Network
 2   Agreement entered into by OptumRx, Inc. and CVS Pharmacy, Inc. dated Jan. 29, 2015, produced
 3   by CVS in this litigation with Bates No. CVSC-0327927.
 4          68.      Attached hereto as Exhibit 68 is a true and correct copy of the Participating
 5   Pharmacy Agreement [Commercial Retail] entered into by Rx Options, LLC and CVS Pharmacy,
 6   Inc. dated Jan. 1, 2014, produced by CVS in this litigation with Bates No. CVSC-0325563.
 7              J.   Other Documents
 8          69.      Attached hereto as Exhibit 69 is a true and correct copy of CVS Pharmacy Patient
 9   Prescription Records for Zulema Avis from May 31, 2006, through May 31, 2016, produced by
10   CVS with Bates No. CVSC-0341312.
11          70.      Attached hereto as Exhibit 70 is a true and correct copy of CVS Pharmacy Patient
12   Prescription Records for Carolyn Caine from May 31, 2006, through May 31, 2016, produced by
13   CVS with Bates No. CVSC-0341280.
14          71.      Attached hereto as Exhibit 71 is a true and correct copy of CVS Pharmacy Patient
15   Prescription Records for Christopher Corcoran from May 31, 2006, through May 31, 2016,
16   produced by CVS with Bates No. CVSC-0341420.
17          72.      Attached hereto as Exhibit 72 is a compilation of customer complaints regarding
18   the Health Savings Pass enrollment fee, produced by CVS with the Bates numbers listed in the
19   exhibit.
20          73.      Attached hereto as Exhibit 73 is a table showing the dates of, and testimony

21   regarding, Plaintiffs’ continued patronage of CVS, with attached prescription records and

22   deposition excerpts.

23          74.      Attached hereto as Exhibit 74 is a compilation of provisions from contracts between

24   CVS and PBMs or third-party payers, produced by CVS with the Bates numbers listed in the

25   exhibit.

26          75.      Attached hereto as Exhibit 75 is a true and correct copy of an event report for the

27   2008 Third Quarter CVS Caremark Earnings Call, produced by CVS with Bates No. CVSC-

28   0384870.
                                                                   DECLARATION OF GRANT A. GEYERMAN
                                                     -7-                               15-CV-03504-YGR
           Case 4:15-cv-03504-YGR Document 184-1 Filed 11/21/16 Page 9 of 12



 1          76.       Attached hereto as Exhibit 76 are true and correct copies of:
 2                •   A screenshot of the website for the Apex Drug Card,
 3                    http://apexdrugcard.com/wp1/;
 4                •   Screenshots of the California Drug Card website,
 5                    http://www.californiarxcard.com;
 6                •   An article titled “How do pharmacy discount cards work?” (August 12, 2013),
 7                    available at http://www.discountdrugnetwork.com/how-do-pharmacy-discount-
 8                    cards-work;
 9                •   Screenshots of the Discount Drug Network website,
10                    http://www.discountdrugnetwork.com;
11                •   A screenshot of the Easy Drug Card website, http://easydrugcard.com/cvs-
12                    pharmacy-discounts;
13                •   Screenshots of the Familywize website, http://familywize.org;
14                •   Screenshots of the Georgia Drug Card website, http://www.georgiadrugcard.com;
15                    and
16                •   A screenshot of the WellCardRx website, http://www.wellcardrx.com/frequently-
17                    asked-questions.
18          77.       Attached hereto as Exhibit 77 is a true and correct copy of a screenshot of the
19   FamilyWize Prescription Savings Card website (http://familywize.org).
20          78.       Attached hereto as Exhibit 78 is a true and correct copy of information printed from

21   the Georgia Drug Card website (http://www.georgiadrugcard.com).

22          79.       Attached hereto as Exhibit 79 is a true and correct copy of an email from Laura A.
23   Lee to Susan F. Colbert regarding “RE: TP DUMP,” attaching a spreadsheet titled “May 2014
24   Active Plan List.xlsx,” sent on May 15, 2014 and produced by CVS with Bates No. CVSC-
25   0312973.
26          80.       Attached hereto as Exhibit 80 is a true and correct copy of a screenshot of the UNA
27   Rx Card website (http://unarxcard.com).
28          81.       Attached hereto as Exhibit 81 is a true and correct copy of information printed from
                                                                    DECLARATION OF GRANT A. GEYERMAN
                                                      -8-                                15-CV-03504-YGR
          Case 4:15-cv-03504-YGR Document 184-1 Filed 11/21/16 Page 10 of 12



 1   the WellCardRx website (http://www.wellcardrx.com/pharmacy-savings).
 2         82.    Attached hereto as Exhibit 82 is a true and correct copy of a document titled CVS
 3   Caremark Health Savings Pass FAQs, produced by CVS with Bates No. CVSC-0041391.
 4         83.    Attached hereto as Exhibit 83 is a true and correct copy of an email from Lisa
 5   Schuldes to Doug Ghertner, Bari A. Harlam, and Tom. E. Morrison regarding “FW: Cash Card
 6   plan design,” sent on August 7, 2008 and produced by CVS with Bates No. CVSC-0001224.
 7         84.    Attached hereto as Exhibit 84 is a true and correct copy of a document titled
 8   “Agenda: Aetna Meeting,” dated November 13, 2008 and produced by CVS with Bates No.
 9   CVSC-0366108.
10         85.    Attached hereto as Exhibit 85 is a true and correct copy of an email from Sharon
11   Edmunds to John Giacovelli regarding “RE: New CVS Generic Program,” sent on November 3,
12   2008 and produced by CVS with Bates No. CVSC-0270288.
13         86.    Attached hereto as Exhibit 86 is a true and correct copy of a document titled “New
14   Health Savings Pass Pharmacy Team Huddle Guide,” dated October 21, 2008 and produced by
15   CVS with Bates No. CVSC-0001800.
16         87.    Attached hereto as Exhibit 87 is a true and correct copy of handwritten notes taken
17   by Thomas Morrison during an October 30, 2008 telephone conversation with Andy Vasquez and
18   Loretta Disney of the Texas Medicaid Program, produced by CVS with Bates No. CVSC-0000005.
19         88.    Attached hereto as Exhibit 88 is a true and correct copy of an email from Sharon
20   Edmunds to David Calabrese regarding “RE: Health Savings Plan,” sent on November 4, 2008
21   and produced by CVS with Bates No. CVSC-0269294.
22         89.    Attached hereto as Exhibit 89 is a true and correct copy of an email from Tom E.
23   Morrison to Andy Vasquez re: “CVS Health Savings Pass Program,” sent on November 4, 2008
24   and produced by CVS with Bates No. CVSC-0000003.
25         90.    Attached hereto as Exhibit 90 is a true and correct copy of an article by Laura
26   Klepacki titled “Discount Generics Programs Flood Retail,” published in Drug Store News on
27   November 17, 2008.
28         91.    Attached hereto as Exhibit 91 is a true and correct copy of an article titled “Discount
                                                                  DECLARATION OF GRANT A. GEYERMAN
                                                   -9-                                 15-CV-03504-YGR
           Case 4:15-cv-03504-YGR Document 184-1 Filed 11/21/16 Page 11 of 12



 1   Generics a Response to Economy, Not Competition,” published in Drug Store News on November
 2   17, 2008.
 3          92.     Attached hereto as Exhibit 92 is a true and correct copy of an email from Bari A.
 4   Harlam to Doug Ghertner regarding “RE: Horizon – Health Savings Pass feedback,” sent on
 5   January 19, 2009 and produced by CVS with Bates No. CVSC-0293027.
 6          93.     Attached hereto as Exhibit 93 is a true and correct copy of an email from Tina L.
 7   Egan to Roderick Bergin regarding “FW: Medco U&C-please pass to MEDCO legal,” sent on
 8   April 30, 2009 and produced by CVS with Bates No. CVSC-0386102.
 9          94.     Attached hereto as Exhibit 94 is a true and correct copy of a letter from C. Calvin
10   Corum to Tina L. Egan, J.D., dated April 30, 2009, produced by CVS with Bates No. CVSC-
11   0356466.
12          95.     Attached hereto as Exhibit 95 is a true and correct copy of an editorial by Thomas
13   M. Ryan titled “Patient-Centered Healthcare,” published in the Boston Globe on June 26, 2009.
14          96.     Attached hereto as Exhibit 96 is a true and correct copy of an email from Mike J.
15   Ayotte to Robert A. Greenwood and Sue F. Colbert regarding “FW: North Carolina State Health
16   Plan /Usual and Customary,” sent on November 29, 2009 and produced by CVS with Bates No.
17   CVSC-0002107.
18          97.     Attached hereto as Exhibit 97 is a true and correct copy of an article by Melissa
19   Korn and Nathan Becker titled “Connecticut Launches Probe of CVS Caremark,” published in the
20   Wall Street Journal on June 23, 2010.

21          98.     Attached hereto as Exhibit 98 is a true and correct copy of an article by Stephen

22   Singer titled “Conn., CVS in Dispute Over Discount Program,” published by the Associated Press

23   Online on June 23, 2010.

24          99.     Attached hereto as Exhibit 99 is a true and correct copy of an article titled “CVS

25   Caremark at Odds with Conn. Medicaid Over Discount Program,” published in Drug Benefit News

26   on July 16, 2010.

27          100.    Attached hereto as Exhibit 100 is a true and correct copy of an article by Kristen

28   Gerencher titled “Save at the Drugstore,” published in the Harrisburg Patriot on December 4, 2011.
                                                                  DECLARATION OF GRANT A. GEYERMAN
                                                   - 10 -                             15-CV-03504-YGR
          Case 4:15-cv-03504-YGR Document 184-1 Filed 11/21/16 Page 12 of 12



 1          101.   Attached hereto as Exhibit 101 is a true and correct copy of an email from Robert
 2   B. Gilmore to Luba Shur, sent on December 5, 2015.
 3          I declare under penalty of perjury that the foregoing is true and correct and that this
 4   Declaration was executed on November 21, 2016 in Washington, D.C.
 5
                                                           /s/ Grant A. Geyerman
 6                                                         Grant A. Geyerman
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                  DECLARATION OF GRANT A. GEYERMAN
                                                  - 11 -                           15-CV-03504-YGR
